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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

   HAMANN GmbH,

           Plaintiff,                                          Case No.: 1:19-cv-04876

   v.                                                          Judge Robert W. Gettleman

   THE PARTNERSHIPS AND UNINCORPORATED                         Magistrate Judge M. David Weisman
   ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

           Defendants.

                              SATISFACTION OF JUDGMENT

        WHEREAS, a judgment was entered in the above action on October 3, 2019 [35] in favor

of Plaintiffs and against the Defendants Identified in Amended Schedule A. Plaintiffs acknowledge

payment of an agreed upon damages amount, costs, and interest and desires to release this

judgment and hereby fully and completely satisfy the same as to the following Defendants:

                NO.                                     DEFENDANT
                  43                                    dealership.truck



        THEREFORE, full and complete satisfaction of said judgment as to above identified

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
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DATED: October 22, 2019                            Respectfully submitted,




                                                       ling Jiang
                                                   JiangIP LLC
                                                   111 West Jackson Blvd.
                                                   Suite 1700
                                                   Chicago, Illinois 60604
                                                   Telephone: 312-675-6297
                                                   Email: yanling@jiangip.com

                                                   ATTORNEY FOR PLAINTIFF


Subscribed and sworn before me by Yanling Jiang, on this 22nd day of October,

2019. Given under by hand and notarial seal.



               OFFICIAL SEAL
             OLLIE B. JONES
        Notary Public - State of Illinois   Notary Public
      My Commission Expires 4/07/2022

                                            State of ::[,/II J1 o t S
                                            County of    CO tJ le.
